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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA

ZIJAD BOSNIC,                                            )
                                                         )
        Plaintiff,                                       )       Case No. 3:17-cv-826-J-32JBT
                                                         )       Hon. Timothy J. Corrigan
v.                                                       )
                                                         )
ANDREW MCCABE, Acting Director of the                    )
Federal Bureau of Investigation, et al.;                 )
                                                         )
        Defendants.                                      )
_______________________________________________________________________________________________________ /

        MOTION TO APPEAR PRO HAC VICE ON BEHALF OF LENA F. MASRI, ESQ.

        Pursuant to Rule 2.02 of the Local Rules of the United States District Court for the

Middle District of Florida, the undersigned counsel moves for the admission of Ms. Lena F.

Masri, Esq., who is a member in good standing in the United States Eastern District Court of

Michigan, as pro hac vice counsel for Plaintiff Zijad Bosnic and consent to serve as local

counsel. A Special Admission Attorney Certification signed by Ms. Masri is attached as

Exhibit A to this Motion, the original of which has been mailed to the Office of the Clerk along

with a check to cover the admission fee.


                                                               Respectfully submitted,


                                                               /s/ Omar Saleh
                                                               Omar Saleh, Esq.
                                                               Florida Bar No.: 91216
                                                               CAIR, Florida, Inc.
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                                                               Tampa, Florida 33617
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Date: July 31, 2017




                                 CERTIFICATE OF SERVICE
       I hereby certify that on July 31, 2017, I electronically filed the foregoing document

with the Clerk of the Court for the Middle District of Florida using the ECF System, which will

send notification to the registered participants of the ECF System as listed on the Court’s

Notice of Electronic Filing.


                                                          /s/ Omar Saleh




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